86 F.3d 1150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin G. GRAY, Plaintiff-Appellant,v.William Ted JONES, Individually and in his personal capacityas a private citizen and in his official capacity as aBluefield, West Virginia Police Officer and/or Detective;Richard M. Poe, Individually and in his personal capacity asa private citizen and in his official capacity as a formerSergeant of The Bluefield City Police Department and currentChief of Police of the Bluefield, West Virginia PoliceDepartment, Defendants-Appellees.
    No. 95-7915.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  May 30, 1996.
    
      S.D.W.Va.
      AFFIRMED.
      Appeal from the United States District Court for the Southern District of West Virginia, at Bluefield.   David A. Faber, District Judge.  (CA-95-861-1)
      Calvin G. Gray, Appellant Pro Se.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Gray v. Jones, No. CA-95-861-1 (S.D.W.Va. Oct. 18, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    